

R.C. v Archdiocese of N.Y. (2025 NY Slip Op 02558)





R.C. v Archdiocese of N.Y.


2025 NY Slip Op 02558


Decided on April 29, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 29, 2025

Before: Kern, J.P., Kennedy, Friedman, Gesmer, Scarpulla, JJ. 


Index No. 950232/20|Appeal No. 4225|Case No. 2024-03660|

[*1]R.C., Plaintiff- Respondent,
vArchdiocese of New York, Defendant, Iona Preparatory School, Defendant-Appellant.


Archer &amp; Greiner, P.C., New York (Anthony D. Dougherty of counsel), for appellant.
Pfau Cochran Vertetis Amala PLLC, New York (Lucas B. Franken of counsel), for respondent.



Order, Supreme Court, New York County (Alexander Tisch, J.), entered on or about May 15, 2023, which granted plaintiff's motion to quash a nonparty subpoena, unanimously affirmed, without costs.
In this action, filed under CPLR 214-g, known as the Child Victims Act, plaintiff alleges that while he was a student at defendant school, Iona Preparatory School, he was abused by a teacher administrator. Records with plaintiff's therapist indicate prior abuse by plaintiff's sibling, and Iona sought to depose that individual.
The motion court providently exercised its discretion by quashing the nonparty subpoena (see AQ Asset Mgt. LLC v Levine, 111 AD3d 245, 260 [1st Dept 2013]). The memory or opinion of plaintiff's prior alleged abuser bears little connection, if any, to the abuse plaintiff purportedly suffered at the hands of the administrator and the damages that abuse caused (see Andon v 302-304 Mott St. Assoc., 94 NY2d 740, 746-747 [2000]). Plaintiff has already testified concerning his therapy records and the impact of the events discussed in therapy.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 29, 2025








